Alan Klinger
212 378 7677
aklinger@Steptoe.com

1114 Avenue of the Americas
New York, NY 10036
212 506 3900 main
www.steptoe.com




                                                                            December 16, 2024

VIA CM/ECF

The Honorable Lewis J. Liman
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

Re:      Mulgrew v. United States Dep’t of Transp. (“Mulgrew”), No. 24-cv-01644 (LJL); Chan
         v. U.S. Dep’t of Transp., (“Chan”) No. 23-cv-10365 (LJL)

Dear Judge Liman:

As your Honor is aware, we are counsel to the Mulgrew and Chan Plaintiffs. We write, in light of
the Court’s December 13, 2024 Order, to seek clarification on the scope of oral argument
scheduled for Friday, December 20, 2024. The Court’s Order states that the Court intends to
consider preliminary injunction applications in the four Congestion Pricing matters on Friday.
Separate from the injunction applications before your Honor are motions to dismiss and motions
and cross-motions for summary judgment on the constitutional and NEPA claims. Plaintiffs wish
to confirm that these claims will not be the subject of the hearing.

We thank the Court for its guidance.

                                                                    Respectfully submitted,

                                                                    /s/ Alan M. Klinger
                                                                    Alan M. Klinger

                                                                    Attorney for Mulgrew and
                                                                    Chan Plaintiffs
